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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


  STATE OF NEW YORK and ERIC
  GONZALEZ, in his official capacity
  as the District Attorney of Kings
  County (Brooklyn),
                                                      CIVIL ACTION NO.
                          Plaintiffs,

               v.                                     COMPLAINT FOR DECLARATORY
                                                      AND INJUNCTIVE RELIEF
  UNITED STATES IMMIGRATION
  AND CUSTOMS ENFORCEMENT;
  MATTHEW T. ALBENCE, in his
  official capacity as Acting Director of
  United States Immigration and
  Customs Enforcement; UNITED
  STATES DEPARTMENT OF
  HOMELAND SECURITY; and
  KEVIN K. MCALEENAN, in his
  official capacity as Acting Secretary of
  Homeland Security,

                          Defendants.



                                        INTRODUCTION

       1.       This lawsuit challenges the federal government’s recent unlawful and

unconstitutional policy authorizing civil immigration arrests in and around New York State

courthouses—a policy that disrupts the effective functioning of our courts, deters victims and

witnesses from assisting law enforcement and vindicating their rights, hinders criminal

prosecution, and undermines public safety.

       2.       New York has a compelling interest in the proper functioning of its court

system—one of the oldest and busiest in the Nation. The unrestricted participation of parties,

witnesses, and complainants is essential to the fair administration of justice. When those


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individuals fail to appear in court, justice is sometimes delayed and sometimes left undone.

Cases are not adjudicated or prosecuted and decisions are not rendered, or are rendered without

complete facts. State resources are also squandered: judges and court staff must prepare for

proceedings that are canceled or adjourned, and must rearrange ever-more-crowded dockets to

accommodate these disruptions. When the court system fails, that failure not only prejudices the

parties but also interferes with the administration of justice and undermines public confidence in

the courts.

          3.       As a reflection of these important interests, the common law has for centuries

recognized a privilege against civil arrests in or around courthouses and court-related

proceedings. That privilege, which remains a bedrock of New York common law, has long been

“deemed necessary for the maintenance of [the courts’] authority and dignity and in order to

promote the due and efficient administration of justice.” Parker v. Marco, 136 N.Y. 585, 589

(1893).

          4.       Nothing in federal law, including in the Immigration and Nationality Act

(“INA”), purports to abrogate this common-law privilege. And until recently, federal

immigration authorities followed a longstanding practice of avoiding civil immigration arrests in

and around state courthouses, in recognition of the severe disruption that such arrests would have

on court proceedings and the resulting interference with the administration of justice by the

States.

          5.       In January 2018, U.S. Immigration and Customs Enforcement (“ICE”) formally

reversed this longstanding practice by issuing a directive addressing “Civil Immigration

Enforcement Actions Inside Courthouses” (the “Courthouse Civil Arrest Directive” or

“Directive”). The Courthouse Civil Arrest Directive generally allows civil immigration arrests



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in or near state courthouses, subject only to vague, ill-defined, and poorly enforced cautions

against undue interference that the Directive leaves individual agents and officers to follow or

not on a case-by-case basis.

       6.       ICE enforcement actions at courthouses in New York State have skyrocketed

since the Directive was issued. The regularity of ICE’s public and aggressive enforcement

activities in and around courthouses has significantly chilled participation in New York State

courts: victims fear that ICE will apprehend them if they report crimes; defendants are afraid to

exercise their constitutional right to defend their cases; plaintiffs and petitioners worry that

bringing a civil action will lead to their arrest; and witnesses refuse to appear in court or assist

state and local law enforcement officials, scared that doing so will result in their detention by

federal authorities. Without these actors, courts cannot accomplish their fundamental and

historical role. Nor can prosecutors effectively administer justice or protect the rule of law, thus

endangering the safety of residents throughout New York State.

       7.       To counteract these direct harms on the state court system, New York’s Office of

Court Administration (“OCA”) and the Unified Court System (“UCS”), which OCA oversees,

have taken measures to protect the integrity of state judicial functions while allowing ICE

immigration arrests under more tailored circumstances. The most recent UCS policy permits

ICE agents and officers to conduct criminal arrests authorized by judicial warrants. This policy

has not, however, stopped ICE’s practice of arresting parties and witnesses without a judicial

warrant near New York State courthouses—including arrests on the courthouse steps.

       8.       The State of New York and Eric Gonzalez, in his official capacity as the District

Attorney of Kings County (Brooklyn), now bring this suit to vacate and enjoin implementation

of the Courthouse Civil Arrest Directive, which suffers from numerous legal defects.



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       9.       First, ICE lacked statutory authority to issue the Directive. Congress’s

authorization for the U.S. Department of Homeland Security (“DHS”), of which ICE is a part, to

conduct civil arrests under the INA must be interpreted against the centuries-old common-law

privilege against civil arrests in and around courthouses—a privilege that has been recognized

since fifteenth-century England as essential to protecting courts’ ability to function properly.

Since the Founding era, American courts have likewise recognized the importance of the

privilege in helping ensure that courts function properly. Because Congress is presumed to

retain long-established common-law principles, and because the INA did not expressly displace

the common-law privilege against civil arrests in and around courthouses, ICE’s statutory arrest

authority does not extend to the areas protected by the privilege. By authorizing civil arrests in

violation of the privilege, the Directive exceeded ICE’s statutory authority in violation of the

Administrative Procedure Act (“APA”).

       10.      Second, the Directive also violates the APA because it is arbitrary and capricious.

In issuing the Directive, ICE failed to account for its harm to state judicial proceedings or to

justify the marginal benefits of the Directive against such harm—important factors that any

rational decision-maker should have considered.

       11.      Third, the Directive violates the Tenth Amendment to the U.S. Constitution. That

amendment preserves the States’ historic sovereign autonomy to control the operation of their

judiciaries and to pursue criminal prosecutions and other law enforcement actions, without

interference by the federal government. The Directive directly infringes on that autonomy.

       12.      Plaintiffs the State of New York and District Attorney Eric Gonzalez therefore

bring this action to vacate the Courthouse Civil Arrest Directive and enjoin its implementation in

or around state courthouses.



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                                 JURISDICTION AND VENUE

          13.   The Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

2201(a). Jurisdiction is also proper under the judicial review provisions of the APA, 5 U.S.C.

§ 702.

          14.   Declaratory and injunctive relief is sought consistent with 5 U.S.C. § 706 and as

authorized in 28 U.S.C. §§ 2201 and 2202.

          15.   Venue is proper in this judicial district under 28 U.S.C. §§ 1391(b)(2) and (e)(1).

Defendants are United States agencies or officers sued in their official capacities. Plaintiff the

State of New York is a resident of this judicial district, and a substantial part of the events or

omissions giving rise to this Complaint occurred and are continuing to occur within the Southern

District of New York.

                                             PARTIES

          16.   Plaintiff the State of New York, represented by and through its Attorney General,

is a sovereign state of the United States of America. The Attorney General is New York State’s

chief law enforcement officer and is authorized under N.Y. Executive Law § 63 to pursue this

action.

          17.   Plaintiff Eric Gonzalez is the District Attorney of Kings County (Brooklyn), and

brings this suit in his official capacity. The Kings County District Attorney’s Office (the

“Brooklyn DA”) is responsible for protecting the public safety of residents and protecting the

integrity of the justice system in its jurisdiction. The Office discharges those duties by, among

other things, investigating and prosecuting crime, assisting victims, and implementing various

crime prevention strategies. The Brooklyn DA is one of the largest and busiest law enforcement

agencies in the country; Kings County is the most populous county in New York, and has a

population larger than that of fifteen States.

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       18.     Plaintiffs are aggrieved by Defendants’ actions and have standing to bring this

action because the Courthouse Civil Arrest Directive and its implementation harm Plaintiffs’

sovereign, quasi-sovereign, economic, and proprietary interests and will continue to cause injury

unless and until the Courthouse Civil Arrest Directive is vacated and Defendants’ practices are

permanently enjoined.

       19.     Defendant U.S. Immigration and Customs Enforcement is a sub-agency of DHS.

ICE is responsible for the administration of the interior enforcement provisions of the country’s

immigration laws. ICE issued the Courthouse Civil Arrest Directive, and ICE agents and

officers execute civil arrests in and around the courts of New York State pursuant to that

Directive.

       20.     Defendant Matthew T. Albence is the Acting Director of U.S. Immigration and

Customs Enforcement. He is sued in his official capacity.

       21.     Defendant the U.S. Department of Homeland Security is a cabinet agency within

the executive branch of the United States government and is an agency within the meaning of 5

U.S.C. § 552(f). Its mandate includes the administration of the interior enforcement provisions

of the country’s immigration laws. Agents of DHS execute civil arrests in and around the courts

of New York State pursuant to the Courthouse Civil Arrest Directive.

       22.     Defendant Kevin K. McAleenan is the Acting Secretary of Homeland Security.

He is sued in his official capacity.

                                        ALLEGATIONS

I.     The New York State court system.

       23.     The judiciary of New York is established by the New York Constitution, which

provides for a unified court system for the State. See N.Y. Const. art. VI. The New York State

court system is one of the oldest in the country. It plays the vital and fundamental role of

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promoting the rule of law and serving the public.

        24.      Each year, approximately 1,300 state judges and 1,800 local judges, along with

15,000 non-judicial employees, are responsible for administering over three million cases in

courthouses across the State. The New York Constitution grants New York’s judiciary the

powers required to perform its judicial functions and to protect its dignity, independence, and

integrity.

        25.      In addition to intermediate appellate courts (the Appellate Division) and a court of

last resort (the Court of Appeals), New York has trial-level courts of general jurisdiction (the

Supreme Court) and specialized trial-level courts, such as Family Court, Housing Court, and

Surrogate’s Court. N.Y. Const. art. VI, § 1.

        26.      Family Court, for instance, “is given a wide range of powers for dealing with the

complexities of life so that its action may fit the particular needs of those before it,” and has

jurisdiction over abuse and neglect proceedings, custody and visitation, petitions for orders of

protection from family members, child and spousal support, and adoption proceedings. N.Y.

Family Ct. Act § 141; N.Y. Const. art. VI, § 13. Surrogate’s Court is assigned jurisdiction over

actions relating to the affairs of decedents, probate of wills, administration of estates, and

guardianship of the property of minors. N.Y. Const. art. VI, § 12.

        27.      In addition to the courts established by the State Constitution, New York State has

established courts designed to meet the evolving needs of access to justice. Since 2000, UCS has

created “problem-solving courts,” which use innovative, non-traditional approaches to serve

litigants and the community at large. These courts provide holistic remedies tailored to the

specific needs of the litigants before them.

        28.      These courts include the Queens Human Trafficking Intervention Court, which



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works with government agencies and non-profit organizations to provide comprehensive services

to rehabilitate survivors of human trafficking; Harlem Community Justice Court; Midtown

Community Court; Red Hook Community Justice Court; Brooklyn Young Adult Court; and

Brooklyn Mental Health Treatment Court.

       29.     UCS’s Office of Policy and Planning works together with the Center for Court

Innovation to administer these courts by engaging in judicial monitoring, coordination with

outside services, treatment where appropriate, the removal of barriers between courts, and

increased communication with stakeholders to address the root causes that bring litigants to

court. Like the rest of New York State courts, the problem-solving courts are committed to

administering justice while enhancing public safety.

II.    ICE policies regarding immigration enforcement activity in state courthouses.

       A.      ICE enforcement policies regarding courthouses before 2017.

       30.     In 1952, Congress enacted the INA, which governs, among other things, the

presence of noncitizens in the United States and the associated procedures for enforcing

immigration law and removing those present in the United States without federal authorization.

See Pub. L. No. 82-414, 66 Stat. 163 (1952) (codified at 8 U.S.C. § 1101 et seq.).

       31.     Because “[r]emoval is a civil, not criminal, matter,” Arizona v. United States, 567

U.S. 387, 396 (2012), arrests of immigrants who are subject to removal are generally civil

arrests. The INA authorizes civil arrests with and without warrants. INA § 242(a), 8 U.S.C.

§ 1226(a). Such warrants are issued not by judges but instead by DHS officials. See 8 C.F.R.

§§ 236.1, 241.2.

       32.     ICE officers and agents may also execute judicial arrest warrants for federal

crimes, see id. § 287.5(e)(4), but these warrants must be supported by probable cause to believe

that the subject of the warrant has committed a crime.

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        33.     Before 2017, it was generally ICE’s practice to instruct its agents and employees

to enforce immigration law, and arrest and detain noncitizens, in a tailored manner with defined

enforcement priorities through publicly released memoranda from its Director.

        34.     For example, in March 2011, the then-Director issued a memorandum identifying

the agency’s civil immigration enforcement priorities. See ICE Policy Number 10072.1, Civil

Immigration Enforcement: Priorities for the Apprehension, Detention, and Removal of Aliens

(Mar. 2, 2011). The memorandum explained that ICE has the resources to remove only about

four percent of the estimated removable population each year. Id. ICE thus directed agents to

prioritize the removal of the most dangerous (i.e., “Priority 1”) noncitizens, defined as those who

pose a danger to national security or a risk to public safety because, for example, they have

“engaged in or are suspected of terrorism or espionage,” or have been convicted of violent

crimes. Id. at 1. Policy Number 10072.1 then prioritized the apprehension and removal of

“[r]ecent illegal entrants” and “[a]liens who are fugitives or otherwise obstruct immigration

controls.” Id. at 2.

        35.     ICE has also issued policies to protect witnesses, crime victims, and other

litigating parties. In June 2011, the agency directed all ICE officers, agents, and attorneys to

“exercise all appropriate prosecutorial discretion” in removal cases in order “to minimize any

effect that immigration enforcement may have on the willingness and ability of victims,

witnesses, and plaintiffs to call police and pursue justice.” ICE Policy No. 10076.1,

Prosecutorial Discretion: Certain Victims, Witnesses, and Plaintiffs, at 1 (June 17, 2011).

        36.     Policy Number 10076.1 provided that “it is against ICE policy to initiate removal

proceedings against an individual known to be the immediate victim or witness to a crime,” and

that “it is similarly against ICE policy to remove individuals in the midst of a legitimate effort to



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protect their civil rights or civil liberties.” Id. at 1-2; see also id. (“To avoid deterring individuals

from reporting crimes and from pursuing actions to protect their civil rights, ICE officers, special

agents, and attorneys are reminded to exercise all appropriate discretion on a case-by-case basis

when making detention and enforcement decisions in the cases of victims of crime, witnesses to

crime, and individuals pursuing legitimate civil rights complaints.”). ICE has made clear, in

2014 and 2015 guidance memos, that any exceptions to this policy for arrests in courthouses

should be applied narrowly only to a subset of “Priority 1” aliens (for example, aliens engaged in

terrorism or espionage, or who present a national security risk). 1

        37.     Similarly, for more than 25 years, ICE has maintained a “sensitive locations”

policy that generally prohibits ICE enforcement actions or investigative activities in sensitive

community locations such as schools, hospitals, places of worship, funerals or other public

religious ceremonies, and public demonstrations. 2

        B.      The implementation of new ICE policies regarding courthouse enforcement
                activity since January 2017.

        38.     On January 25, 2017, President Trump issued an Executive Order that sought,

among other goals, to dramatically increase immigration enforcement activity by ICE and other

federal agencies, including expanded enforcement efforts against removable aliens. Exec. Order



1
 Memorandum from Philip T. Miller, Assistant Director for Field Operations, to Field Office Directors &
Deputy Field Office Directors, Guidance Update: Enforcement Actions at or Near Courthouses (Jan. 26,
2015); Memorandum from Philip T. Miller, Assistant Director for Field Operations, to Field Office
Directors & Deputy Field Office Directors, Enforcement Actions at or Near Courthouses (Mar. 19, 2014).
2
 ICE Policy No. 10029.2, Enforcement Actions at or Focused on Sensitive Locations (Oct. 24, 2011);
Memorandum from Julie L. Myers, Assistant Secretary, to All Field Office Directors & All Special
Agents in Charge, Field Guidance on Enforcement Actions or Investigative Activities At or Near Sensitive
Community Locations (July 3, 2008); INS Policy HQ 807-P, Enforcement Activities at Schools, Places of
Worship, or at funerals or other religious ceremonies (May 17, 1993).




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No. 13,768, Enhancing Public Safety in the Interior of the United States, 82 Fed. Reg. 8799 (Jan.

30, 2017). According to the President’s Press Secretary, the President’s goal through this

Executive Order was to “take the shackles off” ICE agents and other immigration officers. 3

       39.     Rather than prioritizing the removal of only the most dangerous noncitizens,

Executive Order 13,768 abandoned previous priorities and directed the Secretary of Homeland

Security to prioritize the removal of noncitizens who, among other classes, “[h]ave been charged

with any criminal offense, where such charge has not been resolved.” Exec. Order No. 13,768,

§ 5(b), 82 Fed. Reg. at 8800. In a memorandum implementing the Executive Order, the

Secretary of Homeland Security announced that the “Department no longer will exempt classes

or categories of removable aliens from potential enforcement.” 4

       40.     ICE also specifically empowered ICE officers and agents to conduct civil

immigration arrests in or near courthouses. In March 2017, in response to concerns raised by the

Chief Justice of the California Supreme Court regarding the increased presence of ICE agents

and officers in state courthouses to make civil immigration arrests, the Secretary of Homeland

Security and United States Attorney General jointly issued a public letter defending the practice

of conducting immigration arrests in state courthouses and confirming that ICE has been

conducting such arrests. 5


3
 The White House, Press Briefing by Press Secretary Sean Spicer (Feb. 21, 2017),
https://www.whitehouse.gov/briefings-statements/press-briefing-press-secretary-sean-spicer-022117.
4
  U.S. Dep’t of Homeland Sec., Memorandum from Secretary John Kelly, Enforcement of the
Immigration Laws to Serve the National Interest (Feb. 20, 2017),
https://www.dhs.gov/sites/default/files/publications/17_0220_S1_Enforcement-of-the-Immigration-Laws-
to-Serve-the-National-Interest.pdf.
5
  Letter from Attorney General Jefferson B. Sessions III & Secretary of Homeland Security John F. Kelly
to the Hon. Tani G. Cantil-Sakauye, Chief Justice, Supreme Court of California (Mar. 29, 2017).




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       41.     The Department publicly affirmed this practice throughout 2017. In April 2017, a

DHS spokesman confirmed that anyone attending court—including victims and witnesses—

would be subject to civil immigration arrest: “Just because they’re a victim in a certain case does

not mean there’s not something in their background that could cause them to be a removable

alien. Just because they’re a witness doesn’t mean they might not pose a security threat for other

reasons.” 6 And in September 2017, an ICE spokesperson affirmed that “ICE plans to continue

arresting individuals in courthouse environments.” 7

       42.     On January 10, 2018, ICE formalized its enhanced enforcement initiative in

Directive Number 11072.1, Civil Immigration Enforcement Actions Inside Courthouses (Jan. 10,

2018) (appended as Ex. 1).

       43.     The Courthouse Civil Arrest Directive purports to generally authorize ICE

officials to make civil arrests in any courthouse location. The Directive explains that “law

enforcement officials routinely engage in enforcement activity in courthouses throughout the

country because many individuals appearing in courthouses for one matter are wanted for

unrelated criminal or civil violations.” Id. at 1. As a result, the Directive reasons, “ICE’s

enforcement activities in these same courthouses are wholly consistent with longstanding law

enforcement practices, nationwide.”

       44.     The Directive acknowledges that civil immigration arrests in or near courthouses

can cause substantial harms, but the Directive imposes little to no meaningful controls to prevent


6
 Devlin Barrett, DHS: Immigration Agents May Arrest Crime Victims, Witnesses at Courthouses, Wash.
Post (Apr. 4, 2017), https://www.washingtonpost.com/world/national-security/dhs-immigration-agents-
may-arrest-crime-victims-witnesses-at-courthouses/2017/04/04/3956e6d8-196d-11e7-9887-
1a5314b56a08_story.html.
7
 Linley Sanders, Federal Immigration Officials Will Continue Nabbing Suspects at New York
Courthouses to Subvert Sanctuary City Status, Newsweek (Sept. 15, 2017),
https://www.newsweek.com/new-york-immigration-courthouse-arrests-continue-sanctuary-city-665797.

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those harms. For example, the Directive recognizes that ICE officers and agents should “conduct

enforcement actions discreetly to minimize their impact on court proceedings,” but says that they

must do so only “[w]hen practicable”—a judgment that the Directive leaves to individual

officers and agents. Id. at 1.

        45.     And although the Directive provides that “[a]liens encountered during a civil

immigration enforcement action inside a courthouse” who are not “targeted alien[s] . . . will not

be subject to . . . enforcement action, absent special circumstances,” the Directive further

provides that “ICE officers and agents will make enforcement determinations on a case-by-case

basis in accordance with federal law and consistent with [DHS] policy” (with reference to two

2017 memos from the then-Secretary of Homeland Security that say nothing about courthouse

arrests). Id. at 1 & n.1.

        46.     In issuing and enforcing the Courthouse Civil Arrest Directive, ICE did not fully

consider the costs of its policy, adequately train its agents or officers, or explain why any

marginal benefit of targeting civil arrests in or near courthouses outweighed the significant

harms that previous policies identified as arising from such arrests.

        47.     ICE also failed to consider how the Directive contravened Congress’s vigorous

provision of affirmative immigration relief to parties, including witnesses and victims of crime,

that are often conditioned on state court access.

        48.     For example, under 8 U.S.C. § 1101(a)(15)(U), noncitizen crime victims who

have cooperated with law enforcement are eligible for immigration relief through the issuance of

U-nonimmigrant visas. The U-visa program, designed to encourage noncitizen participation in

criminal investigations and prosecutions, and to protect public safety more broadly, often

requires noncitizens to appear in state court as a prerequisite to immigration relief.



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       49.     In addition, Congress has provided for immigration relief for Special Immigrant

Juvenile Status (“SIJS”) for certain vulnerable young people under 8 U.S.C. § 1101(a)(27)(J),

which is conditioned upon having a state court order that makes findings about juveniles’ family

and custodial situations and their inability to return to their countries of origin. 8 U.S.C.

§ 1101(a)(27)(J)(i)-(ii). The threat of civil arrest at state courthouses directly undermines

Congress’s intent in authorizing these programs.

       50.     Similarly, ICE also failed to consider how the Directive frustrates the

administration of New York State’s problem-solving courts, which depend on the robust

participation of noncitizen litigants. Because problem-solving courts routinely sentence

defendants to non-incarceration alternatives that require continued court monitoring—such as

drug treatment programs, mental health counseling, and job training—these courts cannot

perform their designated roles if noncitizen defendants are detained on their way to or from court

or are too afraid to return to court for fear of ICE apprehension.

       51.     ICE similarly failed to consider the effect of the Courthouse Civil Arrest Directive

on noncitizen claimants, many of whom are especially vulnerable, such as tenants living with

hazardous conditions in their apartments, workers employed at unsafe worksites, and survivors

of intimate-partner violence.

       C.      New York’s response to ICE’s civil courthouse arrest policy.

       52.     ICE enforcement activities in New York State courthouses increased significantly

after the Courthouse Civil Arrest Directive was promulgated. According to OCA’s records, ICE

has conducted law enforcement activities in New York State courthouses on a weekly basis since

2017. ICE agents and officers have arrested parties in courthouses, as well as on their way into

and out of New York State courts.

       53.     In response to these disruptive activities, OCA’s Chief Administrative Judge, who
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oversees UCS, has twice updated UCS’s policy for arrests in New York State courthouses to

protect the integrity of judicial proceedings.

         54.   First, in April 2017, UCS issued a policy mandating that all law enforcement

officers who entered state courthouses to make an arrest identify themselves to security

personnel, who must then inform a judge if the entering officers were “present in the courthouse

with the intent of arresting or otherwise taking into custody a party or other participant in a case

before th[at] judge.” Office of the Chief Admin. Judge, N.Y. State Unified Court Sys., Policy

and Protocol Governing Activities in Courthouses by Law Enforcement Agencies (Apr. 26, 2017)

(the “2017 UCS Policy”) (appended as Ex. 2).

         55.   The 2017 UCS Policy also provided that “[a]bsent leave of the court under

extraordinary circumstances (e.g., extradition orders), no law enforcement action may be taken

by a law enforcement agency in a courtroom.” Finally, the 2017 UCS Policy required that court

security personnel file an “Unusual Occurrence Report” for each covered arrest.

         56.   In April 2018, Governor Cuomo issued Executive Order No. 170.1, limiting

federal immigration arrests in state facilities within executive control. The Order provides that

“[c]ivil arrests by federal immigration authorities may only be executed within state facilities

when accompanied by a judicial warrant or judicial order authorizing them to take into custody

the person who is the subject of such warrant, unless the civil arrest is related to a proceeding

within such facility.” State of N.Y. Exec. Order No. 170.1, Amendment to Executive Order

170—State Policy Concerning Immigrant Access to State Services and Buildings (Apr. 25,

2018).

         57.   Governor Cuomo’s Order stated that “federal immigration authorities have

increasingly conducted immigration enforcement activity in sensitive spaces crucial to



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immigrants’ full participation in the economic, civil, and cultural life of the State,” which

“creates a chilling effect, preventing immigrants from fully participating in the State.” 8 Id.

       58.     Despite these efforts from OCA and the Governor, ICE arrests in and around New

York State courthouses continued at an alarming rate. By one calculation, ICE courthouse

operations in and around New York State courthouses increased by 1700% in 2018 compared to

2016. 9 State and local prosecutors held a press conference in February 2018, imploring ICE to

halt its courthouse arrests of immigrants. 10

       59.     In response to continued ICE enforcement activities in 2018 and 2019, UCS

issued an updated policy regarding ICE activity in April 2019. Office of the Chief Admin.

Judge, N.Y. State Unified Court Sys., Protocol Governing Activities in Courthouses by Law

Enforcement Agencies (Apr. 17, 2019) (the “2019 UCS Policy”) (appended as Ex. 3).

       60.     In relevant part, the 2019 UCS Policy updated the 2017 UCS Policy by providing

that ICE arrests inside a courthouse “may be executed . . . only pursuant to a judicial warrant or

judicial order authorizing the arrest,” with judicial warrant and judicial order defined to mean “a

warrant or order issued by a federal judge or federal magistrate judge.” Id.

       61.     The 2019 UCS Policy further requires that a UCS judge or court attorney “review

the warrant or order to confirm compliance with this requirement prior to any such arrest.” Id.




8
 Because the state court system is not under the Governor’s control, Governor Cuomo’s order does not
apply to state courthouses.
9
 Immigrant Def. Project, The Courthouse Trap: How ICE Operations Impacted New York’s Courts in
2018, at 6 (Jan. 2019), www.immigrantdefenseproject.org/wp-content/uploads/TheCourthouseTrap.pdf.
10
  Erin Durkin, City DAs Plead with ICE to Stop Arresting Immigrants at NYC Courthouses: “It
Jeopardizes Public Safety”, N.Y. Daily News (Feb. 14, 2018), https://www.nydailynews.com/new-
york/city-das-press-ice-stop-arresting-immigrants-courthouses-article-1.3820798.

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III.   ICE’s enforcement activity in and near New York courthouses and court
       proceedings interferes with court functions, undermines public safety, and disrupts
       the administration of justice in the state.

       62.     Despite UCS’s efforts to curb ICE arrests in New York State courthouses, ICE’s

ongoing enforcement practices—which include conducting civil arrests of parties and witnesses

in the immediate vicinity of state courthouses, while they are going to or coming from judicial

proceedings—have continued to deter noncitizens from participating in the judicial process.

These arrests have significantly interfered with New York State courts’ functioning and have

hindered criminal prosecutions, in turn jeopardizing public safety.

       A.      ICE’s immigration enforcement activity has significantly interfered with
               state court functions since 2017.

       63.     Since 2017, ICE has conducted enforcement activities in and around New York

State courthouses, on average, more often than once a week—including after implementation of

the 2019 UCS Policy.

       64.     This law enforcement activity is not limited to the insides of courthouses: ICE has

arrested parties on their way to court and as they leave the courthouse and court-related

proceedings, regardless of whether they have subsequent court dates.

       65.     ICE has also failed to produce people that they previously arrested for their

criminal court dates, preventing courts from resolving open cases.

       66.     These disruptions significantly impair the ability of New York courts to perform

routine functions. New York courts, like all courts, rely on parties and witnesses to attend

proceedings. When those parties and witnesses fail to do so, courts often must adjourn

proceedings, thereby wasting judicial resources. Such adjournments also delay the resolution of

cases, causing uncertainty and delaying justice for litigants, victims, witnesses, and family

members. Indeed, the indefinite adjournment of proceedings when ICE deports individuals


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against whom criminal charges are pending deprives victims of their day in court. And in all

events, adjournments only add to the backlog of cases that UCS seeks to combat.

       67.     Moreover, New York courts, like all courts, rely on public access to court

proceedings to serve as a check on “arbitrary judicial behavior,” promoting “confidence in the

conscientiousness, reasonableness, [and] honesty of judicial proceedings” and serving as “an

essential feature of democratic control.” Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110,

119 (2d Cir. 2006); see Mosallem v. Berenson, 76 A.D.3d 345, 348 (1st Dep’t 2010). This

“essential feature of democratic control” is undermined when members of the public are deterred

from attending court proceedings.

       68.     Numerous examples illustrate the deep disruptions often caused by ICE’s civil

arrests in and around New York courthouses and court-related proceedings. As the examples

below show and as OCA’s records confirm, this disruption has not abated following adoption of

UCS’s April 2019 Policy designed to limit ICE arrests in New York courthouses to those

authorized by judicial warrant; to the contrary, court records show a spike in ICE enforcement

activity around courthouses in May 2019, immediately following implementation of the 2019

UCS Policy.

       69.     For example, in July 2019, ICE agents created a significant disturbance when they

arrested a defendant who was entering Yonkers City Court to attend his court hearing. A team of

ICE agents approached the man as he walked up to the front door of the courthouse building.

When the man began opening the courthouse door, one of the agents stopped the door with his

foot, breaking the glass on the door. The agents arrested the man. To ensure public safety, New

York State Court Officers had to temporarily restrict entry into the courthouse.

       70.     In June 2019, an ICE agent entered the New York County Criminal Courthouse



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and informed the court officer that he was there to observe a defendant he intended to arrest.

The ICE agent did not produce a judicial warrant, and a court officer stated that he could not

arrest the defendant in the building. The ICE agent said he intended to arrest the defendant

outside the courthouse. The court accordingly postponed the proceeding for nearly two months.

       71.     In June 2019, two plainclothes ICE officers followed a criminal defendant and his

wife out of the Queens County Criminal Courthouse. Having identified him in the court room,

ICE officers pushed him against a fence and arrested him. They told his wife that “they had all

entrances covered” and “watched him in the courtroom and followed him out.” His wife asked

whether they had a warrant, and the agents said, “[O]h you will see one alright,” but they never

produced a warrant before arresting him.

       72.     In May 2019, ICE agents arrested a noncitizen defendant as he was leaving the

Kings County Courthouse. During the arrest, the ICE agents pushed him against a wall and

grabbed his phone.

       73.     In August 2019, an ICE officer was waiting in the next room of Manhattan

Criminal Court to arrest a noncitizen who was being offered a disorderly conduct plea to resolve

her case. Before her case was called, the attorney was informed that the ICE officer was waiting

to arrest the noncitizen. The ICE officer did not have a judicial warrant. The attorney spoke to

the ICE officer and informed him of the 2019 UCS Policy. The ICE officer stated that he would

wait until the noncitizen was outside and make the arrest outside the courthouse.

       74.     In August 2019, an ICE agent informed a court officer in Kings County Criminal

Court of his intention to arrest a noncitizen who had a court appearance. The ICE agent did not

have a judicial warrant. The court officer informed him that he would have to make the arrest

outside the courthouse. The noncitizen’s case was subsequently dismissed.



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        75.     In April 2019, two ICE officers informed a court officer that they were waiting

outside the building to take an individual into custody outside of the Westchester County

Courthouse. The noncitizen had a 9:30 a.m. court hearing with a judge. The court officer asked

the ICE officers whether they were going to let the individual conduct his court business before

arresting him, and the ICE officers said no. They arrested him at 9:25 a.m. outside the

courthouse.

        76.     In April 2019, ICE officials arrested a pregnant mother attending a child custody

hearing in Family Court in Queens. She had just completed a preliminary custody hearing for

her two U.S. citizen children, ages three and eleven, when ICE officials arrested her outside the

courthouse, in front of her family members. 11 ICE later transferred her to the ICE Bergen

County Detention Center, where she received and reported no health care treatment for her

pregnancy, despite acute symptoms. Two months after her detention, her lawyers secured her

release, alleging that ICE violated her First Amendment rights by placing her in expedited

deportation proceedings in retaliation for complaining about poor health conditions and due

process violations. 12

        77.     In March 2019, ICE officers in Westchester County Supreme Court informed

court officers that they intended to arrest a defendant scheduled to appear in court. In response

to the court officers’ question about whether they were going to let the individual attend his


11
  Molly Crane-Newman, Stephen Rex Brown, & Cathy Burke, Queens Mom Ensnared in Immigration
Quagmire in Race against Deportation Order, N.Y. Daily News (June 24, 2019),
https://www.nydailynews.com/new-york/nyc-crime/ny-immigration-deportation-queens-guatamala-
20190625-plghlwjxy5fqdaivxih43iy5t4-story.html.
12
   Dan M. Clark, Attorneys Use First Amendment Argument to Halt Deportation of Pregnant Immigrant,
N.Y. Law Journal (July 1, 2019), https://www.law.com/newyorklawjournal/2019/07/01/attorneys-use-
first-amendment-argument-to-halt-deportation-of-pregnant-immigrant; Molly Crane-Newman & Larry
McShane, Pregnant Queens Mom Released from ICE Custody, Reunited Saturday with Two Kids in
Emotional Airport Scene, N.Y. Daily News (July 6, 2019), https://www.nydailynews.com/new-york/nyc-
crime/ny-ice-mother-released-20190707-4vafggkau5cwrcuc62d5o7fize-story.html.

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proceedings, the ICE officers said they would not. They then arrested the individual outside the

courthouse before he could enter.

        78.     In March 2019, an ICE agent arrested a noncitizen defendant outside the

courtroom in Bronx County Criminal Court before his case was called. The judge was informed

and adjourned the defendant’s case.

        79.     In April 2018, ICE officers arrested a defendant at Queens County Criminal

Court, just minutes after the court dismissed the charges against him. The man had a green card

application pending and is married to a U.S. citizen, with whom he has three children. He had no

prior criminal record. 13

        80.     In June 2018, several ICE officers approached a litigant as he was waiting for his

case inside Westchester County Family Court. The man asked the officers whether he could talk

to the Family Court judge, his lawyer, or his partner. The ICE officers would not let him, and

instead took him into custody and began a proceeding to remove him from the country, thus

impairing his ability to defend his case in Family Court.

        81.     In September 2018, a criminal defendant was leaving Kings County Supreme

Court with his attorney and family when he was surrounded by plainclothes ICE agents. Two

agents threw him against a wall and put his hands behind his back. Two other plainclothes

agents and a court officer blocked him from his attorney. The ICE officers pulled the man into

an unmarked car with no plates. Several bystanders witnessed the commotion and one woman,

believing that the man was being kidnapped, called 911.

        82.     In June 2017, ICE officers sought to detain a noncitizen criminal defendant who




13
 Nicole Brown & Lauren Cook, ICE Detains Immigrant at Queens Courthouse, Attorneys Say, AM New
York (Apr. 10, 2018), https://www.amny.com/news/ice-court-arrest-nyc-1.17942936.

                                                21
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had been charged with working illegally as a masseuse and identified as a possible survivor of

human trafficking at the Queens County Human Trafficking Intervention Court. The defendant

had been on track to have the charges against her dismissed after completing her mandated

counseling services. The court set bail and later released the defendant on her own recognizance;

ICE arrested three other people outside the courthouse, including one as she left the court and

was walking toward the subway. The presence of ICE officers inside the Human Trafficking

Intervention Court prompted expressions of serious concern from state and local officials. 14

        83.     In November 2018, a defendant was on his way into the Queens County Criminal

Court when he was violently arrested by three ICE officers. Although his case was on track to

be resolved by a noncriminal disposition, the man never got to resolve his case. 15 ICE officers

initially detained him in a New Jersey immigration jail, leaving him without access to free

immigration counsel that is available in New York, despite facing removal with an open criminal

case. He was subsequently transferred to an ICE facility in Oklahoma and was quickly deported.

His criminal case remains open.

        84.     In April 2018, a young woman was leaving the Midtown Community Court, a

problem-solving court in Manhattan that imposes alternatives to incarceration for low-level

offenses. She had just received an adjournment in contemplation of dismissal when two ICE

agents arrested her outside of the courthouse.

        85.     In March 2018, a young man decided to accompany his brother to Queens County


14
  Beth Fertig, Outcry After Immigration Agents Seen at Queens Human Trafficking Court, WNYC (June
16, 2017), https://www.wnyc.org/story/outcry-after-immigration-agents-come-trafficking-victim-queens-
courthouse; Liz Robbins, A Game of Cat and Mouse with High Stakes: Deportation, N.Y. Times (Aug. 3,
2017), https://www.nytimes.com/2017/08/03/nyregion/a-game-of-cat-and-mouse-with-high-stakes-
deportation.html.
15
 Ryan Devereaux, ICE Arrests at New York City Courthouses are Increasing—This Video Captures
One, The Intercept (Nov. 2, 2018), https://theintercept.com/2018/11/02/ice-arrests-video-nyc-courts.

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Criminal Court. The man and his brother were leaving the Queens courthouse when plainclothes

ICE officers approached them and asked them for identification. When they failed to produce

U.S. identification, both men were handcuffed and taken into custody.

       86.     In January 2019, an ICE agent informed a court officer at Bronx County Criminal

Court that he intended to arrest a criminal defendant who had a court appearance that day. The

ICE agent did not produce a judicial warrant. Before the defendant’s case was called, the ICE

agent arrested him inside the courthouse.

       87.     In July 2017, ICE officers arrested a noncitizen inside a courtroom in Watervliet

City Court, after he had been arraigned on traffic violations.

       B.      The Courthouse Civil Arrest Directive interferes with the prosecution of
               crimes in New York State.

       88.     The inability of state prosecutors to prosecute perpetrators and other dangerous

individuals jeopardizes public safety throughout New York State.

       89.     Plaintiff the Brooklyn DA’s ability to prosecute cases has been deeply affected by

ICE’s civil courthouse enforcement activities, because those activities instill fear in immigrant

communities, make victims and witnesses afraid to come forward to report crimes, and impair

prosecutors’ ability to obtain justice.

       90.     In one case in the Brooklyn DA’s office, a victim robbed at gunpoint refused to

testify because he feared an ICE arrest in court. In another case, a man robbed at knifepoint

refused to testify because he was not a U.S. citizen. Without his testimony, the assistant district

attorney was forced to reduce the charges in that case to a misdemeanor.

       91.     From the Brooklyn DA’s experience, the Courthouse Civil Arrest Directive has

also caused undocumented workers to fear coming forward with evidence and participate in an

ongoing large-scale investigation of construction violations in New York City, thereby hindering


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the overall investigation and prosecution of this matter.

           92.   In another recent case involving the Brooklyn DA’s office, an ICE arrest

prevented a criminal defendant—a native and citizen of Uruguay—from being held to account

for felony sexual and domestic violence. The defendant was due in Kings County Criminal

Court in May 2019 for a hearing on a proposed guilty plea that would have required the

defendant to spend more than three years in prison. Minutes before the hearing, ICE arrested

him for a civil immigration violation. The defendant was removed to Uruguay soon after.

Having never answered for his alleged crimes in New York State court, the defendant, since his

removal, has continued to harass the victim on social media, where he boasts about getting away

with his past crimes.

           93.   Because of ICE’s premature removal of this defendant, he has evaded not only the

criminal consequences of his alleged actions, but the immigration consequences as well. He is

not currently inadmissible: he could apply for a visa and would not face any bars to his legal re-

entry. And if he re-entered illegally, he would not be subject to any of the heightened penalties

applicable had he been removed after conviction. Although the defendant’s victim still has an

order of protection against him, the defendant’s future harassment of the victim would likely not

constitute criminal contempt, because ICE prevented the defendant from receiving notice of the

order against him. And although the criminal case remains pending, if the defendant were to re-

enter and be apprehended, the victim, now traumatized by these developments, would be

unlikely to cooperate in the prosecution.

           94.   Numerous other prosecutors and law enforcement officials across the State have

publicly reported that ICE’s enforcement activities impede their prosecutions and crime-fighting

efforts.



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       95.     Bronx County District Attorney Darcel D. Clark has explained that ICE

apprehensions of crime witnesses have resulted in dismissals of Bronx DA prosecutions and in

“dangerous individuals being released back into the community.” 16 DA Clark has also stressed

the chilling effect on witnesses and survivors: “Witnesses and survivors already deal with

enough trauma and are brave enough to show up to court and testify during a case. They should

not have to worry about being arrested at our courthouses.” 17

       96.     New York County District Attorney Cyrus R. Vance, Jr., stated that ICE’s policy

of conducting civil arrests in and around Manhattan courthouses reduces cooperation with his

office from crime victims and witnesses, and makes criminal defendants less likely to appear:

“Deporting New Yorkers who show up to court is antithetical to our values and detrimental to

our public safety. The fear of unjust deportation stops crime victims from coming forward, and

stops defendants from responsibly attending their court dates. These policies threaten to

marginalize immigrant New Yorkers to the point where they no longer report crimes or terror

plots. And so, local prosecutors like me now have to work twice as hard to assure immigrants

that our office is a safe place to report crime without fear of getting deported.” 18



16
  Press Release, Office of the Bronx Borough President, Elected Officials, Advocates, & Public
Defenders Gather to Introduce Groundbreaking New Bill to Protect Immigrants from Unlawful ICE
Arrests at Courthouses (June 5, 2018), http://bronxboropres.nyc.gov/2018/06/05/elected-officials-
advocates-and-public-defenders-gather-to-introduce-groundbreaking-new-bill-to-protect-immigrants-
from-unlawful-ice-arrests-at-courthouses.
17
  Press Release, N.Y. State Senator Brad Hoylman, Hoylman, Solages Intro ICE Out of Courts Bill with
Support from DAs, Defenders, & Community Advocates (Jan. 31, 2019),
https://www.nysenate.gov/sites/default/files/press-release/attachment/protect_our_courts.pdf.
18
  Oversight—ICE Out of New York Courts: Joint Hearing Before the N.Y. City Council Comms. on
Immigration & the Justice System (Apr. 10, 2019) (written statement of Cyrus R. Vance, Jr., Manhattan
District Attorney), https://www.manhattanda.org/testimony-for-city-council-committees-on-immigration-
and-the-justice-system-oversight-hearing-on-ice-out-of-new-york-courts.




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        97.       Albany County District Attorney David Soares stated, “The activities of

Immigration and Customs Enforcement [are] compromising our ability to hold accountable

perpetrators who prey upon victims from vulnerable immigrant communities.” 19

        98.       Albany County Sheriff Craig D. Apple, Sr., expressed similar concerns: “If you’re

afraid to come forward out of fear of being swept up and deported, how many heinous crimes

will go unreported? If people are afraid to come to me and speak with me, then we have a

problem.” 20

        99.       Westchester County District Attorney Anthony A. Scarpino, Jr., reported that

“[w]hen ICE uses our local courthouses to make civil immigration arrests, both immigrants who

are victims of or witnesses to domestic violence, scams, wage theft or violent crimes are now

fearful that coming to court may lead to arrest by ICE.” 21 DA Scarpino recently noted: “I have

cases with witnesses who are scared to death about coming forward and participating in these

trials now.” 22

        100.      Nassau County District Attorney Madeline Singas also expressed concern that

ICE’s courthouse arrest practices were impacting crime reporting by noncitizens: “New York’s

justice system works best when everyone has access. Immigrants who are victims of domestic


19
  Immigrant Def. Project, Protect Our Courts Act: Prosecutor Statements (Feb. 20, 2019),
https://www.immigrantdefenseproject.org/wp-content/uploads/Prosecutor-Statements-Updated-
02202019.pdf.
20
  Christina Goldbaum, When Paying a Traffic Ticket Can End in Deportation, N.Y. Times (June 30,
2019), https://www.nytimes.com/2019/06/30/nyregion/ice-courthouse-arrests.html.
21
  Immigrant Def. Project, Protect Our Courts Act: Prosecutor Statements (Feb. 20, 2019),
https://www.immigrantdefenseproject.org/wp-content/uploads/Prosecutor-Statements-Updated-
02202019.pdf.
22
  Christina Goldbaum, When Paying a Traffic Ticket Can End in Deportation, N.Y. Times (June 30,
2019), https://www.nytimes.com/2019/06/30/nyregion/ice-courthouse-arrests.html.




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violence, wage theft, fraud, or violent crime should be able to seek justice regardless of their

status, and they should be able to come to court for that purpose without fear that their

appearance will lead to civil arrest by ICE.” 23

           101.    Data from state prosecutors’ offices also confirm the impact of the chilling effect

of ICE arrests in state courthouses. For example, calls to the Brooklyn DA’s Immigrant Affairs

Unit (“IAU”) decreased by 67% in 2018 compared to 2016. 24 Similarly, calls to the Nassau

County District Attorney’s IAU fell from 51 calls in 2016 to only three calls in 2017, and eight

calls in 2018. 25

           102.    District Attorney “Clean Slate” events (warrant amnesty programs that allow

people to resolve any criminal summonses on site without risk of criminal arrest by state or local

police) have also seen a sharp decline. The New York County District Attorney’s office reported

that the number of people participating in Clean Slate events has declined significantly since

2017—from 460 people at an event in April 2016, to 380 people at an event in June 2017; to

approximately 200 people at an event in April 2018—and that this decrease in participation is

due in part to a fear that ICE may appear, stemming from ICE’s increased presence in and

around courthouses. 26 The New York County and Bronx County District Attorneys also




23
  Immigrant Def. Project, Protect Our Courts Act: Prosecutor Statements (Feb. 20, 2019),
https://www.immigrantdefenseproject.org/wp-content/uploads/Prosecutor-Statements-Updated-
02202019.pdf.
24
  Immigrant Def. Project, Safeguarding the Integrity of Our Courts: The Impact of ICE Courthouse
Operations on New York State, at 13-14 & fig. 2 (2019), https://www.immigrantdefenseproject.org/wp-
content/uploads/Safeguarding-the-Integrity-of-Our-Courts-Final-Report.pdf.
25
     Id. at 14-15 & fig.3.
26
     Id. at 17.




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experienced a decline in requests for victim-related assistance in their Family Justice Centers. 27

           103.      The Domestic Violence Bureau of the Bronx County District Attorney’s office

has publicly reported that numerous complaining witnesses expressed fear of testifying or

otherwise participating in criminal proceedings due to ICE presence in the courthouse, including

at least one instance in which a previously cooperative complaining witness became extremely

reluctant to testify following several news reports regarding ICE arrests occurring in

courthouses. 28

           104.      Despite encouragement by state prosecutors, many noncitizens who are survivors

of intimate partner violence and would qualify for a protective order are now not willing to seek

such an order because it requires going to court, where the victims fear ICE arrest for themselves

and their families.

           105.      ICE enforcement activities directed at witnesses, victims, and defendants who are

attending, or traveling to or from, court proceedings greatly impede Plaintiffs’ ability to fairly

and effectively prosecute crimes, and thereby threaten public safety and undermine the integrity

of the justice system.

IV.        Common law and federal statutory background.

           A.        The fundamental common-law privilege against civil arrests in and around
                     courthouses.

           106.      The common law recognizes a historical privilege against civil arrests in or

around courthouses and court-related proceedings, dating back to fifteenth-century England.

Parker, 136 N.Y. at 589; see also Meekins v. Smith (1791) 126 Eng. Rep. 363, 364; Orchard’s

Case (1828) 38 Eng. Rep. 987, 987; Ex parte Byne (1813) 35 Eng. Rep. 123, 123.


27
     Id.
28
     Id. at 11-12.

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       107.    This privilege extends not only to parties and witnesses, but also to all people

“necessarily attending” the courts on business. 3 William Blackstone, Commentaries on the

Laws of England 289 (1769) (“Suitors, witnesses, and other persons, necessarily attending any

courts of record upon business are not to be arrested during their actual attendance, which

includes their necessary coming and returning.”); accord Meekins, 126 Eng. Rep. at 364; Spence

v. Stuart (1802) 102 Eng. Rep. 530, 530.

       108.    This rule avoids a significant problem posed by civil arrests in courthouses: if

courthouses became a convenient forum for effectuating arrests, many parties would not attend,

thus undermining the judicial system as a whole. See, e.g., The King v. Holy Trinity in Wareham

(1782) 99 Eng. Rep. 530, 531 (holding that “for the purpose of justice,” and “to encourage

witnesses to come forward voluntarily,” they are privileged from arrest “in coming, in staying,

and in returning” from court); Meekins, 126 Eng. Rep. at 363.

       109.    This privilege was repeatedly upheld by English courts and remains a bedrock

principle of American common law. See, e.g., Lamb v. Schmitt, 285 U.S. 222, 225 (1932)

(“[T]he due administration of justice requires that a court shall not permit interference with the

progress of a case pending before it, by the service of process in other suits, which would

prevent, or the fear of which might tend to discourage, the voluntary attendance of those whose

presence is necessary or convenient to the judicial administration in the pending litigation.”);

Page Co. v. MacDonald, 261 U.S. 446, 448 (1923); Ryan v. U.S. Immigration & Customs Enf’t,

382 F. Supp. 3d 142, 156 (D. Mass. 2019); Person v. Grier, 66 N.Y. 124, 125 (1876); In re

Kimball, 14 F. Cas. 474, 474 (S.D.N.Y. 1867). Like their English counterparts, American courts

interpreted the privilege broadly, encompassing “all cases” and “any matter pending before a

lawful tribunal” (including arbitrations and examinations). Simon Greenleaf, A Treatise on the



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Law of Evidence § 317, at 475 (16th ed. 1899).

       110.    New York courts, in particular, have recognized and vigorously enforced the

common law privilege of immunity from civil arrest in and around courthouses. Norris v. Beach,

2 Johns. 294, 294 (Sup. Ct. 1807) (“We have power to compel the attendance of witnesses, and

when they do attend, we are bound to protect them redeundo.”); see generally Sanford v. Chase,

3 Cow. 381 (N.Y. 1824).

       111.    Moreover, like the U.S. Supreme Court, the New York Court of Appeals has

recognized that the privilege protected “parties and witnesses from all forms of civil process” not

only during their attendance at court” but also “for a reasonable time in going and returning.”

Parker, 136 N.Y. at 589; Person, 66 N.Y. at 125. And like the U.S. Supreme Court, the Court of

Appeals observed that the privilege belongs to the court “and is deemed necessary for the

maintenance of its authority and dignity and in order to promote the due and efficient

administration of justice.” Parker, 136 N.Y. at 589.

       112.    Based on this historic principle, it is the duty of “[c]ourts of justice . . .

everywhere to be open, accessible, free from interruption, and to cast a perfect protection around

every man who necessarily approaches them.” Stewart v. Ramsay, 242 U.S. 128, 130 (1916)

(quotation marks omitted).

       B.      Congress has not abrogated the fundamental common-law right against
               arrests in and around courthouses and court proceedings.

       113.    The Supreme Court has long recognized the “presumption favoring the retention

of long-established and familiar principles” under the common law, which can be overcome only

when “a statutory purpose to the contrary is evident.” United States v. Texas, 507 U.S. 529, 534

(1993) (quotation marks omitted). To demonstrate a contrary statutory purpose, the statute must

“speak[] directly to the question addressed by the common law.” Pasquantino v. United States,


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544 U.S. 349, 359 (2005) (quotation marks omitted).

       114.    The statute in question, the INA, allows the federal government to make civil

arrests for the violation of federal immigration laws. But the INA does not speak directly to the

common law privilege against civil courthouse arrests.

       115.    Because the INA is silent on courthouse arrests, Congress presumably intended to

retain rather than displace that “long-established and familiar principle[],” Texas, 507 U.S. at

534, when it authorized civil arrests.

       116.    As a result, the INA’s grant of civil arrest authority incorporates and is limited by

the common law privilege against courthouse arrests.

       C.      State sovereignty under the Tenth Amendment.

       117.    The Tenth Amendment provides that “[t]he powers not delegated to the United

States by the Constitution, nor prohibited by it to the States, are reserved to the States

respectively, or to the people.” U.S. Const. amend. X.

       118.    The power to administer state court proceedings is a power decidedly reserved to

the States. Since our nation’s founding, our federal system of government has recognized the

right of States to try cases free from federal interference. See, e.g., Younger v. Harris, 401 U.S.

37, 43 (1971). Indeed, States have the prerogative to control “the internal workings” of state

court proceedings, Kaufman v. Kaye, 466 F.3d 83, 86 (2d Cir. 2006)—a prerogative grounded in

States’ “fundamental constitutional independence,” Chick Kam Choo v. Exxon Corp., 486 U.S.

140, 146 (1988). Likewise, “each State’s power to prosecute is derived from its own ‘inherent

sovereignty,’ not from the Federal Government.” Heath v. Alabama, 474 U.S. 82, 89 (1985).

       119.    Underlying these firmly recognized rights is the principle that the federal

government generally may not entrench on a State’s power, “sometimes termed its police power,

to prescribe regulations to promote the health, peace, morals, education and good order of the
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people, and to legislate so as to increase the industries of the state, develop its resources, and add

to its wealth and prosperity.” Barbier v. Connolly, 113 U.S. 27, 31 (1884).

          120.   And States’ “reserved powers” under the Tenth Amendment include the power to

regulate their court systems. Atlantic Coast Line R.R. v. Bhd. of Locomotive Eng’rs, 398 U.S.

281, 285 (1970).

                                      CLAIMS FOR RELIEF

                                   FIRST CLAIM FOR RELIEF

                 (Administrative Procedure Act—Exceeds Statutory Authority)

          121.   Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

          122.   Under the APA, courts must “hold unlawful and set aside agency action” that is

“in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C.

§ 706(2)(C).

          123.   Defendants may only exercise authority conferred by statute. City of Arlington v.

FCC, 569 U.S. 290, 297-98 (2013).

          124.   New York recognizes a common-law privilege against civil arrests in, or while

traveling to or from, courthouses.

          125.   ICE arrests based on alleged civil immigration infractions are civil arrests

authorized by the Immigration and Nationality Act. INS v. Lopez-Mendoza, 468 U.S. 1032, 1038

(1984).

          126.   A long-established common-law privilege forbids civil arrests in or near

courthouses. Congress is presumed to retain such long-established common-law principles

unless it expressly provides otherwise. Congress did not displace the common-law privilege

when it enacted the INA. To do so, Congress would have had to “speak[] directly to the question

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addressed by the common law.” Pasquantino, 544 U.S. at 359 (quotation marks omitted). But

the civil-arrest provisions in the INA do not speak directly to the common-law privilege against

civil arrests in or near courthouses: although the INA contains two provisions that authorize

arrests, see 8 U.S.C. § 1226(a) (arrests with warrant); § 1357(a)(2) (arrests without a warrant),

neither of them mentions courthouses at all.

       127.    The Courthouse Civil Arrest Directive authorizing civil arrests of people in, or

traveling to or from, courthouses, and ICE’s practice of carrying out civil arrests against parties,

witnesses, and others attending New York courts on official business, thus exceed ICE’s

statutory authority.

       128.    The Courthouse Civil Arrest Directive is therefore “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” in violation of the APA. 5

U.S.C. § 706(2)(C).

       129.    Defendants’ violation causes ongoing harm to Plaintiffs and their residents.

                                SECOND CLAIM FOR RELIEF

                 (Administrative Procedure Act—Arbitrary and Capricious)

       130.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

       131.    The APA provides that courts must “hold unlawful and set aside” agency action

that is “arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

       132.    The Courthouse Civil Arrest Directive is arbitrary and capricious because

Defendants did not fully consider the foreseeable harms of their policy, did not adequately

explain prioritizing civil arrests in or near courthouses over those harms, and did not adequately

justify the change from Defendants’ prior policies on courthouse arrests.

       133.    The Courthouse Civil Arrest Directive is therefore “arbitrary, capricious, [or] an
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abuse of discretion” in violation of the APA. 5 U.S.C. § 706(2)(A).

       134.    Defendants’ violation causes ongoing harm to Plaintiffs and their residents.

                                 THIRD CLAIM FOR RELIEF

                                  (U.S. Constitution amend. X)

       135.    Plaintiffs incorporate by reference the allegations set forth in each of the

preceding paragraphs of this Complaint.

       136.    The Tenth Amendment preserves the states’ historic, sovereign, and fundamental

autonomy to control the operation of their judiciaries and to pursue criminal prosecutions.

       137.    The states’ judicial, prosecutorial, and police powers are among the most

important powers that the Constitution reserves to the states. United States v. Morrison, 529

U.S. 598, 618 (2000) (“[W]e can think of no better example of the police power, which the

Founders denied the National Government and reposed in the States, than the suppression of

violent crime and vindication of its victims.”).

       138.    The INA does not contain an “unmistakably clear” authorization for Defendants

to intrude on these core sovereign interests. See Gregory v. Ashcroft, 501 U.S. 452, 460 (1991).

       139.    The Courthouse Civil Arrest Directive impermissibly interferes with New York’s

right to form its own government by interfering with state court operations and impeding

criminal prosecutions in violation of the Tenth Amendment. ICE’s Directive, and ICE’s practice

under the Directive of carrying out civil arrests against parties, witnesses, and others attending

New York courts on official business, unduly interfere with New York’s right and ability to

operate its own court system and pursue criminal prosecutions because it interferes with the

administration of justice in New York State courts.

       140.    ICE’s unprecedented civil enforcement activities in and around state courthouses

create a documented chilling effect that deters defendants, would-be litigants, claimants, and
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witnesses from bringing violations of state law to law enforcement authorities, and from

participating in state court proceedings.

        141.   The Courthouse Civil Arrest Directive, and ICE’s implementation of the

Directive, significantly interfere with core sovereign functions in violation of the Tenth

Amendment.

        142.   Defendants’ violation causes ongoing harm to Plaintiffs and their residents.

                                     PRAYER FOR RELIEF

        Wherefore, Plaintiffs respectfully request that this Court:

        1.     Issue an order holding unlawful, vacating, and setting aside the Courthouse Civil

Arrest Directive (ICE Directive No. 11072.1 (Jan. 10, 2018)).

        2.     Declare that the Courthouse Civil Arrest Directive is in excess of Defendants’

statutory jurisdiction, authority, or limitations, or short of statutory right within the meaning of 5

U.S.C. § 706(2)(C);

        3.     Declare that the Courthouse Civil Arrest Directive is arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law within the meaning of 5 U.S.C.

§ 706(2)(A);

        4.     Declare that the Courthouse Civil Arrest Directive is unconstitutional;

        5.     Enjoin Defendants and all their officers, employees, and agents, and anyone

acting in concert with them, from implementing, applying, or taking any action whatsoever under

the Courthouse Civil Arrest Directive, and from civilly arresting parties, witnesses, and any other

individual coming to, attending, or returning from courthouses or court-related proceedings;

        6.     Award Plaintiffs their reasonable fees, costs, and expenses, including attorneys’

fees.

        7.     Grant such other and further relief as the Court deems just and proper.
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DATED: September 25, 2019            Respectfully submitted,

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